       Case 3:22-cv-00294 Document 10 Filed on 10/10/22 in TXSD Page 1 of 9




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

SANDRA BENOIT and LINDA A.                      §
SMITH,                                          §
                                                §
        Plaintiffs,                             §
                                                §
vs.                                             §         CIVIL ACTION NO. 3:22-CV-00294
                                                §
LEE & MURPHY LAW FIRM,                          §
ERIN MURPHY, CLARK, LOVE &                      §
HUSTON, G.P., CLAYTON A.                        §
CLARK, SCOTT A. LOVE, BLAKE                     §
DEADY, and SHELLEY HUSTON.                      §
                                                §
        Defendants.                             §

       DEFENDANT CLARK, LOVE & HUTSON, G.P.’S EXPEDITED MOTION TO
      SEAL COURT RECORDS SUBJECT TO ITS MOTION TO TRANSFER VENUE

        Defendant, Clark, Love & Hutson, G.P., (“CLH” or “Defendant”), files this Expedited

Motion to Seal Court Records Subject to Its Motion to Transfer Venue. In support, the Defendant

respectfully shows this Court the following:

                                             I.
                                       INTRODUCTION

        In this lawsuit where Plaintiffs complain about their recoveries from a judicially

administered settlement trust, Plaintiffs and their counsel attached an Exhibit to their Original

Complaint (D.E. # 1) which divulges the entire amount of a confidential, aggregate settlement

involving several hundred individuals pursuing an underlying transvaginal mesh mass tort

recovery. This is not the first time that Plaintiffs or their counsel have publicized this same

settlement information. Plaintiffs and their counsel did so while the case was pending in the 334th

District Court in Harris County (a lawsuit that Plaintiffs voluntarily dismissed after Judge Dawn

Rogers transferred venue to the forum where the underlying settlement was being judicially
      Case 3:22-cv-00294 Document 10 Filed on 10/10/22 in TXSD Page 2 of 9




administered). Likewise, Plaintiffs’ previous counsel publicized the same information in a

companion case in the Houston Division of the Southern District of Texas, another forum that

Plaintiffs have sought to avoid because of a full summary judgment that Judge Andrew Hanen

granted on like claims to those asserted here.

        In both instances of confidentiality violations, CLH was forced to file a motion to seal, and

each time the request was unsuccessfully opposed. So, there is no doubt that Plaintiffs and their

counsel are on notice that information pertaining to the aggregate settlement is confidential and

subject to sealing. There is likewise no doubt that Plaintiffs and their counsel have some unusual

desire to repeatedly continue publicizing the confidential information despite there being multiple

sealing orders in place.

        As Judge Hanen and Judge Rogers have previously issued sealing orders for violations of

the confidentiality provisions, CLH asks this Court to seal the exhibit attached to Plaintiff’s

Original Complaint (or the entire document to the extent the exhibit cannot be electronically

severed from the complaint).

                                            II.
                                   FACTUAL BACKGROUND

        A. The Master Settlement Agreements mandate the confidentiality of the Settlement
           Agreements in their terms.

        Plaintiffs’ underlying pelvic mesh settlements are governed by Master Settlement

Agreements (MSAs), which are confidential and set out the information that is protected from

disclosure by the parties, including Plaintiffs in this case. There are two plaintiffs in this case, and

both of them are bound by confidentiality provisions contained within their settlement agreements,

all of which were material terms to the settling defendants in those cases.




                                                   2
         Case 3:22-cv-00294 Document 10 Filed on 10/10/22 in TXSD Page 3 of 9




          Ms. Benoit and Ms. Smith’s settlement is governed by the MSA entered into by Clark,

Love & Hutson, G.P. (CLH) and Boston Scientific Corporation (BSC), a manufacturer of pelvic

mesh devices among other things. The confidentiality provisions of the BSC MSA, which is being

provided in redacted form, states the following:

          The Parties expressly agree and understand that all aspects of settlement
          negotiations, all documents prepared in connection with settlement negotiations
          (including, but not limited to, the Release and the Agreement and all of its exhibits),
          and the settlement itself, including the settlement fund amount, are confidential. No
          party may divulge any aspect or terms of any confidential document relating to the
          settlement, except as otherwise agreed to by the Parties herein or permitted by the
          Governing Court, except that Boston Scientific may make disclosures it deems
          necessary to governmental agencies, its accountants, auditors, other financial
          representatives, insurers, agents, and other related business, regulatory, financial or
          legal entities. The Parties and their counsel further agree that they will not, and that
          they will make every effort to cause their representatives, referring attorneys, and
          any other attorneys or other individuals involved in Claimants’ Counsel’s Boston
          Scientific Pelvic Products Cases and/or Claims (including local counsel and
          Referring Counsel) not to disclose to any person, including attorneys for other
          claimants and/or potential claimants, or to any media outlets or internet sources,
          any information concerning the negotiation of or the facts surrounding this
          settlement, including without limitation: (a) the nature of the settlement discussions
          and negotiations that took place concerning Claimants’ Counsel’s Boston Scientific
          Pelvic Product Cases and/or Claims; (b) offers exchanged during settlement
          negotiations; (c) the Parties’ valuations, categorizations, characterizations,
          opinions, or views of Claimants’ claims and types of injuries; (d) any of the terms,
          conditions, or other facts with respect to the settlement, including the status thereof,
          or the fact that the other party considered a settlement; (e) the total amount of the
          settlement; and (f) that this Agreement exists, that factual material has been
          requested or made available to Boston Scientific and its representatives, or any
          opinions or views with respect to Boston Scientific or the factual material. 1

There is no doubt that this confidentiality provision precludes the type of disclosure that has been

made by Plaintiffs in the Original Complaint.




1
    See Exhibit 1, BSC MSA, § X.A at 29-30.

                                                     3
      Case 3:22-cv-00294 Document 10 Filed on 10/10/22 in TXSD Page 4 of 9




        B. The Plaintiffs knowingly and expressly executed releases that mandate
           confidentiality of the Settlement Agreements.

        Plaintiffs agreed (Ms. Smith on March 9, 2016 and Ms. Benoit on March 11, 2016) to keep

settlement terms and amounts confidential as follows:

        M. Confidentiality of Agreement.

        1. RELEASING PARTY and her attorneys, agents, experts, consultants, and
        representatives agree that all terms and conditions of this Agreement, including the
        ultimate amount thereof, the history and background, and all negotiations or
        discussions of any kind relating to the settlement are to be kept strictly confidential
        and private in all respects and shall not be disclosed, made public, disseminated,
        released, or otherwise referenced, alluded to, or suggested, directly or indirectly, to
        any person or entity in any manner whatsoever unless required by a court of
        competent jurisdiction, as necessary for the preparation of tax or other accounting
        documents, as necessary in the normal course of business of the RELEASED
        PARTIES or as necessary to give effect to the terms of this Agreement or approval
        of the distribution of the Settlement proceeds by a court of competent jurisdiction,
        and even then, only to such extent as is absolutely necessary.

                                               *      *      *

        4. Further, for any violation of this confidentiality agreement, the parties shall
        have the right and standing to enjoin any person and/or organization violating this
        confidentiality agreement or any person and/or organization who has announced an
        intention to violate this confidentiality agreement or who has failed to desist from
        any violation of this confidentiality agreement after written demand to do so. All
        attorneys’ fees, costs, and expenses incurred by a party herein in enforcing these
        rights to injunctive relief shall be the liability of any and every person and/or
        organization against whom injunctive relief is obtained. 2

        In short, Plaintiffs in this case and their Counsel have knowingly violated confidentiality

provisions to which they agreed to be bound. Such facts evidence more than good cause to seal the

Complaint, and Defendant respectfully requests the Court do so.




2
 See Exhibits 2 and 3, Smith and Benoit Releases at § M.1. and 4. at 19-20. These documents have been redacted
only to divulge the existence of the confidentiality provision.

                                                      4
      Case 3:22-cv-00294 Document 10 Filed on 10/10/22 in TXSD Page 5 of 9




        C. Plaintiff’s Complaint violates the Confidentiality Provisions to which Plaintiffs
           are bound.

        In spite of Plaintiffs’ knowing and express agreement to be bound by the confidentiality

terms of the settlement agreements, Plaintiffs’ Complaint has attached information that is clearly

confidential under (1) the terms of the MSAs and (2) Plaintiffs’ express agreements regarding

confidentiality found in their individually executed Releases. The Complaint, via the attachment

of Exhibit A, sets out numerous terms of the Settlement Agreement that are confidential, 3

including:

             •   The amount of the gross aggregate settlement (Complaint, Exhibit A, at 2);

             •   The number of participants (Complaint, Exhibit A, at 2);

             •   The breakdown of the amount paid by BSC (Complaint, Exhibit A, at 2); and

             •   The allocation formula (Complaint, Exhibit A, at pg. 3).

        All of this is confidential under the various agreements, and because the information is

attached to the Complaint as one electronic instrument, the only remedy is to seal the entirety of

the complaint unless the offending Exhibit can somehow be removed from the court filing.

        D. Judge Hanen and Judge Rogers have already sealed pleadings with similar
           confidentiality violations in matters that have involved Plaintiffs’ counsel.

        Judge Hanen and Judge Rogers have previously sealed pleadings bearing similar

confidentiality violations in proceedings that involved or came to involve Plaintiffs and/or their

counsel. In the Tammy Alvarado matter 4 (which Plaintiffs’ current counsel would eventually move

to take over as the lead attorney), the Plaintiffs filed a pleading that disclosed confidential



3
    See Plaintiffs’ Original Complaint.
4
    Cause No. 4:19-CV-2148; Tammy Alvarado, et. al. v. Clark Love & Hutson, GP, et. al., In the Southern District
    of Texas – Houston Division.

                                                       5
       Case 3:22-cv-00294 Document 10 Filed on 10/10/22 in TXSD Page 6 of 9




information in violation of the settlement agreements. CLH asked Judge Hanen to seal the pleading

given its violation of the confidentiality provisions. At the hearing, Judge Hanen said the

following:

         Well, you just breached your duty – you just got your clients breaching a settlement
         agreement, don’t you?...What we’re talking about is whether we seal it so that it –
         they haven’t breached the confidentiality agreement. 5

Judge Hanen ultimately sealed the complaint. 6 Then, in Judge Rogers court, Plaintiffs’ counsel

breached the confidentiality provisions by again publicizing settlement amount information. CLH

had to undertake the sealing process, which resulted in an order by Judge Rogers sealing the

records and finding that “CLH has specific, serious, and substantial interests in preventing the

disclosure” of confidential settlement information.” 7 This is now at least the third time that CLH

has been forced to file an action to seal pleadings because of what is becoming an obvious and

knowing disregard of a confidentiality agreement.

                                            III.
                                  ARUGMENT AND AUTHORITY

         Defendant acknowledges that there is a “general right to inspect and copy public records

and documents, including judicial records and documents.” 8 Nonetheless, “[to] be sure, the ‘right

to inspect and copy judicial records is not absolute…’” 9 The public does not have a generalized

interest in access to privileged information that may have inadvertently been disclosed.10

Moreover, the aspirations to be promoted by public access are not frustrated by sealing the entirety

of an original complaint. 11


5
     Exhibit 4, Transcript from Sealing Hearing in the Alvarado case at pages 4-5.
6
     Exhibit 5.
7
     Exhibit 6.
8
     Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978).
9
     Erfindergemeinschaft Uropep GbR v. Eli Lilly & Co., No. 2:15-CV-1202-WCB, 2017 WL 434207, at *1 (E.D.
     Tex. 2017) (citing Nixon, 435 U.S. at 598).
10
     Motorola, Inc. v. Alaog Devices, Inc., 2003 WL 25778434 (E.D. Tex. 2003).
11
     Id.

                                                     6
       Case 3:22-cv-00294 Document 10 Filed on 10/10/22 in TXSD Page 7 of 9




         Indeed, under Federal Rule of Civil Procedure 5.2(d), “[t]he Court may order that a filing

be made under seal without redaction.” “The decision whether to allow public access to court

records is left to the ‘sound discretion of the trial court . . . to be exercised in light of the relevant

facts and circumstances of the particular case.’” 12 In this instance, it is appropriate to seal

Plaintiffs’ Original Complaint and Exhibit A which references settlement amounts and terms that

are confidential. This is the type of information that the sealing procedures under Rule 5.2 were

designed to protect.

         As stated above, prior to filing Plaintiffs’ Original Complaint in the Galveston Division,

Plaintiffs filed an Original Petition in Harris County. Stemming from Plaintiffs’ filings, on April

7, 2022, Judge Dawn Rogers the Court entered an Order Temporarily Sealing Court Records,

finding Plaintiffs’ Memorandum in Support of Plaintiffs’ Arguments and to Correct [Alleged]

Misinformation and its exhibits, disclosed and attached information and documents that were

confidential pursuant to the settlement agreements, orders of the 23rd District Court of Wharton

County, Texas, and/or orders and rulings of the current Court that require such information and

documents to be kept confidential and filed under seal (if filed at all). The Court also found that

there was no compelling reason to publicly disclose or publicly discuss the terms of the information

and documents referenced in and attached as exhibits to Plaintiffs’ Memorandum.

         After having had a prior disclosure in this same dispute sealed, Plaintiffs would ultimately

nonsuit their state court lawsuit. Plaintiffs then filed their Complaint in this Court, which makes

yet another confidentiality violations. Plaintiffs continued violations of the confidentiality

provisions are not only problematic, but harmful to all Parties involved and in complete disregard

of prior court rulings.



12
     Erfindergemeinschaft, 2017 WL 434207 at *1 (citing Nixon, 435 U.S. at 599).

                                                        7
     Case 3:22-cv-00294 Document 10 Filed on 10/10/22 in TXSD Page 8 of 9




                                            IV.
                                        CONCLUSION

       For all of the foregoing reasons, Defendant respectfully requests, subject to its Motion to

Transfer Venue, that the Court seal Plaintiffs’ Complaint.

                                             Respectfully Submitted,

                                             MARTIN, DISIERE, JEFFERSON & WISDOM, L.L.P.


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                                                8
     Case 3:22-cv-00294 Document 10 Filed on 10/10/22 in TXSD Page 9 of 9




                             CERTIFICATE OF CONFERENCE

       I hereby certify that on October 9, 2022, in good faith, counsel for the CLH Defendants
conferred with counsel for Plaintiffs, and an agreement garnering non-opposition as to the relief
requested in this motion could not be reached. Therefore, this motion is opposed.


                                             /s/ Raul H. Suazo
                                             Raul H. Suazo


                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of Defendant’s foregoing pleading was served
on October 10, 2022, on the following counsel of record in accordance with the Federal Rules of
Civil Procedure:

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